  Case: 1:06-cr-00058-JG Doc #: 35 Filed: 07/11/06 1 of 2. PageID #: 107




IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 1:06-CR-58
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 MARIO SANTIAGO                                      : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ------------------------------------------------    :

UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Kenneth S. McHargh regarding the change of plea hearing and

plea agreement of Mario Santiago which was referred to the Magistrate Judge with the

consent of the parties.

       On 7 February 2006, the government filed a two-count indictment against Mario

Santiago for conspiracy to possess with intent to distribute cocaine in violation of 21

U.S.C. § 846, and felon in possession of a firearm in violation of 18 U.S.C. § 922(g)(1).

On 15 February 2006, a hearing was held in which Mario Santiago entered a plea of not

guilty before Magistrate Judge Nancy A. Vecchiarelli. On 31 May 2006, Magistrate

Judge McHargh received Mario Santiago’s plea of guilty and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a

finding of guilty entered.
  Case: 1:06-cr-00058-JG Doc #: 35 Filed: 07/11/06 2 of 2. PageID #: 108




       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted. Mario

Santiago is found to be competent to enter a plea. He understands his constitutional

rights. He is aware of the charges and of the consequences of entering a plea. There

is an adequate factual basis for the plea. The Court finds the plea was entered

knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Mario Santiago is adjudged guilty of Counts One and Three in

violation of 21 U.S.C. § 846 and 18 U.S.C. § 922(g)(1).

       Sentencing will be:

                       28 August 2006 at 2:00 p.m.

                       Courtroom 18-A
                       18th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113



       IT IS SO ORDERED.



Dated: 11 July 2006                            /s/Lesley Wells
                                               UNITED STATES DISTRICT JUDGE




                                           2
